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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


MOHAMED MEDHI ZORGANI and
SOUKAINA LAASIRI,
                                      Civ. Action No. 17-2360 (EGS)
                  Plaintiffs,

v.

DISTRICT OF COLUMBIA, et al.,

                   Defendant.



                           MEMORANDUM OPINION

  I.     Introduction
       Plaintiffs Mohamed Mehdi Zorgani (“Mr. Zorgani”), on behalf

of himself and all others similarly situated, and Soukaina

Laasiri (“Ms. Laasiri”) (collectively “Plaintiffs”) bring this

action against Defendants District of Columbia (the “District”);

Department of Motor Vehicles (“DMV”); former Director of DMV

Lucinda Babers in her individual capacity; and employees of the

District and DMV John and Jane Does 1-9 (“Does 1-9”). Plaintiffs

bring four claims against the Defendants due to the allegedly

wrongful suspension of Mr. Zorgani’s license: (1) negligence;

(2) violation of statute; (3) deprivation of rights under 42

U.S.C. § 1983; and (4) loss of consortium. See generally Am.

Compl., ECF No. 18. Plaintiffs also allege a class action. See

id. ¶¶ 26-31.
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      Pending before the Court is Defendants the District and

former DMV Director Babers’ Partial Motion to Dismiss and

Partial Motion for Summary Judgment. See Mem. of P. & A. in

Supp. of Defs.’ Partial Mot. to Dismiss & Partial Mot. for Summ.

J. (“Defs.’ Mot.”), ECF No. 19-1. Defendants move to dismiss:

(1) all claims against the DMV; (2) negligence and Section 1983

claims against Ms. Babers; (3) Mr. Zorgani’s and Ms. Laasiri’s

loss of consortium claim; and (4) the Section 1983 failure-to-

train claim against the District. See generally Defs.’ Mot., ECF

No. 19-1. Defendants seek summary judgment on Plaintiffs’

Section 1983 policy-or-custom claim against the District. See

id.   Defendants also argue that the Court should dismiss

Plaintiffs’ class action claims. See id.

      Upon careful consideration of the motion, opposition, and

reply thereto, the Court GRANTS IN PART AND DENIES IN PART

Defendants’ Partial Motion to Dismiss, and DENIES Defendants’

Partial Motion for Summary Judgment.

  II.    Background

         A. Factual

      The Court assumes the following facts alleged in the

complaint to be true for the purposes of deciding this motion

and construes them in Plaintiffs’ favor. See Baird v. Gotbaum,

792 F.3d 166, 169 n.2 (D.C. Cir. 2015). On May 24, 2014, Mr.

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Zorgani was issued a $100 traffic ticket for failure to yield

the right of way. Am. Compl., ECF No. 18 ¶ 8. 1 On July 30, 2014,

Mr. Zorgani paid the ticket and late payment fine online. Id.

Following that payment, Defendants did not notify Mr. Zorgani

that his license would be suspended, nor did they notify him

that he needed to take any action to avoid the suspension of his

license. Id. ¶¶ 10-11. On August 21, 2014, Defendants suspended

Mr. Zorgani’s license. Id. ¶ 12. Defendants did not notify Mr.

Zorgani that his license had been suspended. Id. ¶ 14.

Thereafter, Defendants informed the Metropolitan Police

Department (“MPD”) that Mr. Zorgani’s license had been

suspended. See id. ¶ 13.

     Early in the morning of November 8, 2014, Mr. Zorgani was

stopped by Officer Parrish of the MPD. Id. ¶ 17. Officer Parrish

queried Mr. Zorgani’s license through the Third District

Dispatcher, id. ¶ 18; and was informed that the license had been

suspended on August 21, id. ¶ 19. Mr. Zorgani was then placed

under arrest and held in jail overnight. Id. ¶ 20.

     After he was released, on November 8, 2014, Mr. Zorgani

went to the DMV to inquire about his license suspension. Id. ¶

22. The DMV clerk informed him that his license had been


1When citing electronic filings throughout this opinion, the Court
cites to the ECF header page number, not the original page number
of the filed document.
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suspended in error and apologized. Id. Ms. Laasiri had no

knowledge of her husband’s whereabouts the night of November 8,

2014. Id. ¶ 24.

        B. Procedural

      Plaintiffs filed their Amended Complaint on April 24, 2019,

containing the following Counts: (1) Count I for negligence

against the District, Ms. Babers in her individual capacity, and

Jane and John Doe DMV employees, id. ¶¶ 32-41; (2) Count II for

violation of statute against the District, Ms. Babers in her

individual capacity, and Jane and John Doe DMV employees, id. ¶¶

42-46; (3) Count III for violation of Section 1983: (a) against

Ms. Babers in her individual capacity and against individual

Jane and John Doe employees; (b) failure-to-train claim against

the District; and (c) policy-or-custom claim against the

District, id. ¶¶ 47-74; and (4) loss of consortium, id. ¶¶ 75-

77.

      Defendants moved to dismiss all but the negligence claim

against the District, and for summary judgment on Section 1983

claims against the District. See Defs.’ Mot., ECF No. 19-1 at 1-

2. Plaintiffs filed their opposition on May 30, 2019, see Pls.’

Opp’n Defs.’ Partial Mot. Dismiss & Partial Mot. Summ. J.

(“Pls.’ Opp’n”), ECF No. 26; and Defendants filed their reply

brief on June 20, 2019, see Defs.’ Reply Pls.’ Opp’n Defs.’


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Partial Mot. Dismiss & Mot. Partial Summ. J. (“Defs.’ Reply”),

ECF No. 30. The motions are ripe for adjudication.

  III. Standard of Review

        A. Rule 12(b)(6) Motion to Dismiss

     A motion to dismiss under Federal Rule of Civil Procedure

12(b)(6) tests the legal sufficiency of a complaint. Browning v.

Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). The complaint must

contain “a short and plain statement of the claim showing that

the pleader is entitled to relief, in order to give the

defendant fair notice of what the . . . claim is and the grounds

upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007) (citation and internal quotation marks omitted). The

plaintiff need not plead all of the elements of a prima facie

case in the complaint, Swierkiewicz v. Sorema N.A., 534 U.S.

506, 511–14 (2002); nor must the plaintiff plead facts or law

that match every element of a legal theory, Krieger v. Fadely,

211 F.3d 134, 136 (D.C. Cir. 2000).

     Despite this liberal pleading standard, to survive a motion

to dismiss, a complaint “must contain sufficient factual matter,

accepted as true, to state a claim for relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citation and internal quotation marks omitted). A claim is

plausible on its face when the facts pled in the complaint


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“allow[] the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. This

pleading standard does not amount to a “probability

requirement,” but it does require more than a “sheer possibility

that a defendant has acted unlawfully.” Id.

     “[W]hen ruling on a defendant’s motion to dismiss [pursuant

to Rule 12(b)(6)], a judge must accept as true all of the

factual allegations contained in the complaint,” Atherton v.

D.C. Off. of the Mayor, 567 F.3d 672, 681 (D.C. Cir. 2009); and

must give the plaintiff the “benefit of all inferences that can

be derived from the facts alleged,” Kowal v. MCI Commc’ns Corp.,

16 F.3d 1271, 1276 (D.C. Cir. 1994). Dismissal is not warranted

unless the “plaintiff can prove no set of facts in support of

his claim which would entitle him to relief.” Browning, 292 F.3d

at 242 (quoting Conley v. Gibson, 355 U.S. 41, 45–46 (1957)).

Even so, the court need not “accept inferences drawn by

plaintiffs if such inferences are unsupported by the facts set

out in the complaint” or “legal conclusions cast in the form of

factual allegations.” Kowal, 16 F.3d at 1276. Further,

“[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements” are not sufficient to

state a claim. Iqbal, 556 U.S. at 678.




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     “In determining whether a complaint states a claim, the

court may consider the facts alleged in the complaint, documents

attached thereto or incorporated therein, and matters of which

it may take judicial notice.” Abhe & Svoboda, Inc. v. Chao, 508

F.3d 1052, 1059 (D.C. Cir. 2007) (citations and internal

quotation marks omitted).

     B. Motion for Summary Judgment

     Pursuant to Federal Rule of Civil Procedure 56, summary

judgment should be granted if the moving party has shown that

there are no genuine issues of material fact and that it is

entitled to judgment as a matter of law. See Fed. R. Civ. P.

56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986);

Waterhouse v. Dist. of Columbia, 298 F.3d 989, 991 (D.C. Cir.

2002) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

247 (1986)). The party seeking summary judgment bears the

initial burden of demonstrating the absence of a genuine dispute

of material fact. See Celotex, 477 U.S. at 323.

     In determining whether a genuine issue of material fact

exists, the court must view all facts in the light most

favorable to the non-moving party and draw all reasonable

inferences in his favor. See Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citation omitted);

Waterhouse, 298 F.3d at 991. The non-moving party’s opposition,

however, must consist of more than mere unsupported allegations
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or denials and must be supported by affidavits or other

competent evidence setting forth specific facts showing that

there is a genuine issue for trial. See Fed. R. Civ. P. 56(e);

Celotex, 477 U.S. at 324. Moreover, if the evidence favoring the

non-moving party is “merely colorable, or is not significantly

probative, summary judgment may be granted.” Anderson, 477 U.S.

at 249-50 (citations omitted).

  IV.    Analysis

         A. Defendant DMV is DISMISSED as Non Sui Juris

     Defendants seek dismissal of the DMV as non sui juris,

explaining that the DMV is a non-suable agency, see Defs.’ Mot.,

ECF No. 19-1 at 16-17; and Plaintiffs agree to the dismissal,

see Pls.’ Opp’n, ECF No. 26 at 19. Accordingly, the DMV is

DISMISSED as a party to this action. See Lucas v. Dist. of

Columbia, 683 F. Supp. 2d 16, 18 (D.D.C. 2010) (dismissing

defendant the District of Columbia Public Schools from the

action as a non sui juris agency). The Clerk of Court is

directed to DISMISS the DMV from this case.

         B. The Section 1983 and Negligence Claims Against Ms.
            Babers in Her Individual Capacity Are Outside of the
            Statue of Limitations

                  1. The Section 1983 Claim Against Ms. Babers in
                     Her Individual Capacity Is Outside of the
                     Statute of Limitations

     Plaintiffs allege Section 1983 and negligence claims

against Ms. Babers in her individual capacity in the Amended

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Complaint. See Am. Compl., ECF No. 18 ¶¶ 5, 32-41, 47-74.

Plaintiffs did not bring any claims against Ms. Babers in the

original Complaint filed on November 8, 2017, see generally

Compl., ECF No. 1; but added claims against her in the Amended

Complaint filed April 24, 2019, see generally Am. Compl., ECF

No. 18. Defendants move to dismiss the claims against Ms. Babers

on the ground that the three-year statute of limitations has

run. See Defs.’ Mot., ECF No. 19-1 at 11-12. Defendants argue

that because Mr. Zorgani became aware that his license had been

suspended on November 8, 2014, Plaintiffs had until November 8,

2017, to bring his claims against Ms. Babers. Id. at 11.

However, Plaintiffs did not bring any claims against Ms. Babers

until April 24, 2019, approximately 15 months after the statute

of limitations had run. Id. Plaintiffs respond that the statute

of limitations does not bar their claims against Ms. Babers

because: (1) “the cause of action did not accrue until

Plaintiffs became aware of Ms. Babers’ involvement and

wrongdoing that caused their injuries”; and (2) “the claims

relate back under [Federal Rule of Civil Procedure] 15(c).”

Pls.’ Opp’n, ECF No. 26 at 26-27.

     The parties do not dispute that a three-year statute of

limitations applies to the Section 1983 and negligence claims

against Ms. Babers. See Defs.’ Mot., ECF No. 19-1; Pls.’ Opp’n,

ECF No. 26; Defs.’ Reply, ECF No. 30. Plaintiffs argue that
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their claims against Ms. Babers did not accrue until the summer

of 2018, when “the automated license suspension policy and Ms.

Babers’ role in sanctioning the District’s suspension policy”

became public knowledge. Pls.’ Opp’n, ECF No. 26 at 28.

Defendants respond that Plaintiffs’ argument fails because they

assert a new legal theory rather than offering new facts. Defs.’

Reply, ECF No. 30 at 6.

     Federal Rule of Civil Procedure 12(b)(6) “is the vehicle

for asserting the affirmative defense of statutory time

limitation.” Peart v. Latham & Watkins LLP, 985 F. Supp. 2d 72,

80 (D.D.C. 2013). Because statute of limitations issues often

depend on contested questions of fact, “a defendant is entitled

to succeed on a Rule 12(b)(6) motion to dismiss brought on

statutes of limitations grounds only if the facts that give rise

to this affirmative defense are clear on the face of the

plaintiff's complaint.” Lattisaw v. Dist. of Columbia, 118 F.

Supp. 3d 142, 153 (D.D.C. 2015). “[T]he accrual date of a § 1983

cause of action is a question of federal law that is not

resolved by reference to state law.” Wallace v. Kato, 549 U.S.

384, 388 (2007) (emphasis omitted). A Section 1983 claim accrues

“when the plaintiff has ‘a complete and present cause of

action,’ that is, ‘when the plaintiff can file suit and obtain

relief.’” Id. at 388    (quoting Bay Area Laundry & Dry Cleaning

Pension Tr. Fund v. Ferbar Corp. of Cal., 522 U.S. 192, 201
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(1997)); see, e.g., Muñoz v. Bd. of Trs. of Univ. of Dist. of

Columbia, 427 Fed. Appx. 1, 4 (D.C. Cir. 2011) (per curiam)

(Section 1983 claim accrues when wrongful conduct occurs).

     Here, Plaintiffs’ Section 1983 claim against Ms. Babers

accrued by November 8, 2014, the day Mr. Zorgani was arrested

and informed that his license had been suspended. See Am.

Compl., ECF No. 18 ¶¶ 17-20. The statute of limitations on those

claims ran three years later, on November 8, 2017. Thus, the

statute of limitations expired nearly a year and a half before

Plaintiffs named Ms. Babers in her individual capacity in the

Amended Complaint filed on April 24, 2019. See id.

     Plaintiffs argue that they did not have a “complete and

present cause of action” against Ms. Babers until they learned

“that DMV’s computer system [rather than a hearing examiner]

made final determinations in adjudicating . . . traffic

violations.” Pls.’ Opp’n, ECF No. 26 at 27. They argue that once

they learned this, Ms. Babers was directly implicated because

she had implemented and/or sanctioned this system. Id. They

further state that they did not become aware of Ms. Babers’ role

until “the summer of 2018 when it became public knowledge.” Id.

at 28.

     However, the Amended Complaint contains no allegations

regarding Ms. Babers’ role with respect to the automated

suspension policy becoming a matter of public knowledge in the

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summer of 2018. See generally Am. Compl., ECF No. 18. Nor do the

documents necessarily incorporated into the Amended Complaint

and attached to Plaintiffs’ opposition briefing support their

argument that they learned of her role in the automated

suspension policy in the summer of 2018. 2 See generally Exs. 1,

2, and 3 to Pls.’ Opp’n, ECF No. 26-3, ECF No. 26-4, ECF No 26-

5. Because Plaintiffs failed to allege the date upon which they

claim that their claim against Ms. Babers accrued, Defendants

are entitled to prevail on their statute of limitations argument

based on “the face of the plaintiff's complaint.” Lattisaw, 118

F. Supp. 3d at 153.

                2. The Negligence Claim Against Ms. Babers Is
                   Outside of the Statute of Limitations

     Plaintiffs’ negligence claim against Ms. Babers is subject

to state-law rules on accrual. See Ajayi v. Dist. of Columbia,

No. CV 20-1019, 2021 WL 3886272, at *4 (D.D.C. Aug. 31, 2021).

Under District of Columbia law, “a claim is deemed to have

accrued ‘from the moment a party has either actual notice of

[their] cause of action, or is deemed to be on inquiry notice by

failing to act reasonably under the circumstances in

investigating matters affecting [their] affairs, where such an

investigation, if conducted, would have led to actual notice.’”



2 The Court properly takes these documents into consideration. See
Abhe, 508 F.3d at 1059.
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Crafton v. Dist. of Columbia, 132 F. Supp. 3d 1, 9 (D.D.C. 2015)

(quoting Medhin v. Hailu, 26 A.3d 307, 310 (D.C. 2011)). “If the

relationship between the fact of injury and the conduct are

obscure, . . . ‘the claim does not accrue until the claimant

knows or by the exercise of reasonable diligence should know of

(1) the injury, (2) its cause in fact, and (3) some evidence of

wrongdoing.’” Id. (quoting Medhin, 26 A.3d at 310). Although a

claim will not accrue until a plaintiff has “some evidence of

wrongdoing,” accrual is not delayed merely because the plaintiff

does not “have knowledge of the precise breadth or nature of the

tortious action.” Brin v. S.E.W. Invs., 902 A.2d 784, 792 (D.C.

2006) (citation omitted).

     Applying these standards, Plaintiffs’ negligence claim

against Ms. Babers also accrued by November 8, 2014. At that

point, Mr. Zorgani had suffered an injury—he was arrested and

detained overnight for driving with a license that had been

erroneously suspended. See Am. Compl., ECF No. 18 ¶¶ 17-22. On

that date, he also learned the cause in fact of his injury.

Specifically, a clerk at the DMV notified him on November 8,

2014, that the DMV had suspended his license in error. See id. ¶

22. Plaintiffs argue that Mr. Zorgani “was not aware of the

cause in fact of his injury and identity of the individual

responsible until he learned of the automated license suspension

policy and Ms. Babers’ role in sanctioning the policy.” Pls.’

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Opp’n, ECF No. 26 at 28. However, while Mr. Zorgani might not

have known the precise mechanism by which the DMV had wrongfully

suspended his license, he clearly had “some evidence” of the

tortious acts that caused his injury. A simple review of the

D.C. Code would have revealed Ms. Babers’ possible role in this

suspension; indeed, each count in Plaintiffs’ original Complaint

refers to these regulations. See Compl., ECF No. 1 ¶¶ 20-50.

                3. The Section 1983 and Negligence Claims Against
                   Ms. Babers Do Not Relate Back to The Initial
                   Complaint

     In the alternative, Plaintiffs argue that their claims

against Ms. Babers in the Amended Complaint are within the

statute of limitations period because they relate back to the

original Complaint. See Pls.’ Opp’n, ECF No. 26 at 29.

     An Amended Complaint naming a new defendant relates back to

the Original Complaint if: (1) the claim against the newly named

defendant arises “out of the conduct, transaction, or occurrence

set out—or attempted to be set out—in the original pleading”;

(2) “within the period provided by Rule 4(m) for serving the

summons and complaint” the newly named defendant must have

“received such notice of the action that it will not be

prejudiced in defending on the merits”; and (3) the plaintiff

must show that, within the Rule 4(m) period, the newly named

defendant “knew or should have known that the action would have

been brought against it, but for a mistake concerning the proper
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party's identity.” Fed. R. Civ. P. 15(1)(c). “[R]elation back

under Rule 15(c)(1)(C) depends upon what the party to be added

knew or should have known.” Krupski v. Costa Crociere S.p.A.,

560 U.S. 538, 541 (2010). Accordingly, “[a] potential defendant

who has not been named in a lawsuit by the time the statute of

limitations has run is entitled to repose—unless it is or should

be apparent to that person that he is the beneficiary of a mere

slip of the pen, as it were.” Rendall–Speranza v. Nassim, 107

F.3d 913, 918 (D.C. Cir. 1997).

     Plaintiffs argue the Amended Complaint relates back to the

original Complaint because, as Director of the DMV, Ms. Babers

was on fair notice of the litigation related to the suspension

policy and because she is represented by the same attorneys

representing the other defendants named in the original

Complaint. Pls.’ Opp’n, ECF No. 26 at 29. However, Plaintiffs do

not argue that the failure to name Ms. Babers was a “slip of the

pen.” Id. Furthermore, Ms. Babers cannot be held to have

known/should have known that she would be added as a named

defendant in her individual capacity in view of the fact that

the original Complaint contains allegations about the Director

and employees of the DMV but did not name her individually. See

Compl., ECF No. 1 ¶ 32(d) (Director of the DMV was required by

statute to serve Mr. Zorgani with a notice of suspension at the

time of his arrest); ¶ 43 (“Upon information and belief,

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individuals with policy making authority for the District of

Columbia and the Department of Motor Vehicles for the District

of Columbia tacitly approved of or ratified the actions of lower

ranking officials of the District of Columbia and DMV in

suspending driver’s licenses of individuals including Mr.

Zorgani after the payment of fines and without notice and/or

opportunity for a hearing.”). For these reasons, the Amended

Complaint does not relate back to the original Complaint

pursuant to Rule 15(c)(1)(C).

     For all of these reasons, the Court GRANTS Defendants’

Motion to Dismiss as to the claims against Ms. Babers in her

individual capacity. 3

       C. Plaintiffs’ Section 1983 Claims

     Plaintiffs sue Defendants on two Section 1983 theories.

First, they allege that Defendants failed to train employees at

the DMV to take certain actions, such as providing additional

notice, when suspending driver’s licenses in cases where those

drivers paid their tickets and late fines after the 60-day

window had expired. See Am. Compl., ECF No. 18 ¶¶ 63-65. Second,

Plaintiffs allege that Defendants have a policy or custom of

automatically suspending driver’s licenses after 60 days,




3 Accordingly, the Court does not address whether Plaintiffs have
stated a negligence claim or a Section 1983 claim against Ms.
Babers.
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regardless of late payments and without any notice of

opportunity to be heard. See id. ¶¶ 66-70.

     Section 1983 provides a civil remedy for an individual who

has been deprived, by a person acting under color of state law,

of “any rights, privileges, or immunities secured by the

Constitution and laws” of the United States. 42 U.S.C. § 1983. A

municipality, like the District, may be held liable under

Section 1983 for the acts of its employees, but only “when

execution of a government's policy or custom, whether made by

its lawmakers or by those whose edicts or acts may fairly be

said to represent official policy, inflicts the injury.” Monell

v. Dep't of Soc. Servs., 436 U.S. 658, 694 (1978).

     “[I]n considering whether a plaintiff has stated a claim

for municipal liability, the district court must conduct a two-

step inquiry.” Baker v. Dist. of Columbia, 326 F.3d 1302, 1306

(D.C. Cir. 2003) (citation omitted). “First, the court must

determine whether the complaint states a claim for a predicate

constitutional violation. Id. “Second, if [the plaintiff has

stated a claim for a constitutional violation], then the court

must determine whether the complaint states a claim that a

custom or policy of the municipality caused the violation.” Id.




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     In general, such a policy or custom

          exists when (1) the municipality adopts a
          policy that itself violates the Constitution;
          (2) the unconstitutional action was taken by
          a “policy maker” within the government; (3)
          the employees’ unconstitutional actions “are
          so consistent that they have become [a]
          ‘custom’” of the municipality of which the
          supervising policymaker must have been aware;
          or (4) the municipality knew or should have
          known of a risk of constitutional violations,
          but showed “deliberate indifference” to that
          risk by failing to act.

Hurd v. Dist. of Columbia, 997 F.3d 332, 337 (D.C. Cir. 2021)

(citations omitted). A showing under any of these four theories

suffices to sustain a claim of Monell liability against a

municipality. See id. at 337, 340-42. Policies or customs may be

specific, see Monell, 436 U.S. at 694 (city ordinance), Pembaur

v. City of Cincinnati, 475 U.S. 469, 480-81 (1986) (high-level

municipal policymaker decision); but also exist when a

municipality fails to train employees in a manner that makes it

“so likely” that constitutional violations will result, City of

Canton v. Harris, 489 U.S. 378, 390 (1989).

     Defendants move to dismiss the failure-to-train claim and

move for summary judgment on the policy or custom claim. See

Defs.’ Mot., ECF No. 19-1 at 17-29. For the reasons that follow,

the Court GRANTS Defendants’ Motion to Dismiss Plaintiffs’

failure-to-train claim and DENIES Defendants’ Motion for Summary

Judgment as to Plaintiffs’ policy-or-custom claim.

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                  1. Plaintiffs Have Stated a Claim for a Predicate
                     Constitutional Violation

      Mr. Zorgani alleges that he has a significant property

interest in his driver’s license and that the District suspended

his license without providing him with notice, process, or

opportunity for hearing after he paid his fine, in violation of

his substantive due process rights under the Fifth Amendment to

the United States Constitution. See Am. Compl., ECF No. 18 ¶¶

48, 49, 65, 68.

      “Once [driver’s] licenses are issued . . . their continued

possession may become essential in the pursuit of a livelihood.

Suspension of issued licenses thus involves state action that

adjudicates important interests of the licensees. In such cases

the licenses are not to be taken away without that procedural

due process required by the Fourteenth Amendment.” Bell v.

Burson, 402 U.S. 535, 539 (1971). “Because [the District] is a

political entity created by the federal government, it is

subject to the restrictions of the Fifth Amendment, not the

Fourteenth.” Propert v. Dist. of Columbia, 948 F.2d 1327, 1330

n.5   (D.C. Cir. 1991) (citing     Bolling v. Sharpe, 347 U.S. 497,

499 (1954)). “The procedural due process components of the two

Amendments are the same.”      Id. “Procedural due process requires

that a fair hearing be held prior to permanent suspension of a

driver's license.” Gilles v. Touchstone, 676 F. Supp. 341, 344


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(D.D.C. 1987); see also Quick v. Dep’t of Motor Vehicles, 331

A.2d 319, 321 (D.C. 1975) (applying Bell to find that driver’s

licenses may not be suspended without due process). The District

has not argued otherwise. See generally Defs.’ Mot., ECF No. 19-

1; Defs.’ Reply, ECF No. 30.

     Mr. Zorgani alleges that the District suspended his license

without “any notice, process, or opportunity for a hearing after

he paid his fine and prior to suspending his license.” Am.

Compl., ECF No. 18 ¶ 49. The Court concludes that Mr. Zorgani

has alleged a predicate constitutional violation.

                2. Plaintiffs Have Not Adequately Alleged That the
                   District Was “Deliberately Indifferent”

     “In limited circumstances, a local government's decision

not to train certain employees about their legal duty to avoid

violating citizens' rights may rise to the level of an official

government policy for purposes of § 1983.” Connick v. Thompson,

563 U.S. 51, 61 (2011). However, “[a] municipality’s culpability

for a deprivation of rights is at its most tenuous where a claim

turns on a failure to train.” Id. (citation omitted). “Only

where a municipality’s failure to train its employees in a

relevant respect evidences a ‘deliberate indifference’ to the

rights of its inhabitants can such a shortcoming be properly

thought of as a city ‘policy or custom’ that is actionable under

[Section] 1983.” Harris, 489 U.S. at 389.

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     “‘[D]eliberate indifference’ is a stringent standard of

fault, requiring proof that a municipal actor disregarded a

known or obvious consequence of his action.” Connick, 563 U.S.

at 61 (quoting Bd. of Cnty. Comm’rs v. Brown, 520 U.S. 397, 410

(1997)). “Thus, when city policymakers are on actual or

constructive notice that a particular omission in their training

program causes city employees to violate citizens'

constitutional rights, the city may be deemed deliberately

indifferent if the policymakers choose to retain that program.”

Id. (citing Brown, 520 U.S. at 407); see also Warren v. Dist. of

Columbia, 353 F.3d 36, 28 (D.C. Cir. 2004) (observing that

deliberate indifference “is an objective standard . . . simply

mean[ing] that, faced with actual or constructive knowledge that

its agents will probably violate constitutional rights, the city

may not adopt a policy of inaction”).

     “A pattern of similar constitutional violations by

untrained employees is ‘ordinarily necessary’ to demonstrate

deliberate indifference for purposes of failure to train.”

Connick, 563 U.S. at 62 (quoting Brown, 520 U.S. at 409). In

rare circumstances, “the unconstitutional consequences of

failing to train could be so patently obvious that a city could

be liable under § 1983 without proof of a pre-existing pattern

of violations.” Id. at 64. Plaintiff bears the burden of proving

that the lack of training actually caused the violation in

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question. See Harris, 489 U.S. at 391 (“[F]or liability to

attach . . . the identified deficiency in a city's training

program must be closely related to the ultimate injury.”).

     Defendants argue that the failure-to-train claim should be

dismissed because Plaintiffs have not alleged anything more than

Mr. Zorgani’s experience with DMV, thereby failing to allege a

pattern of similar constitutional violations. Defs.’ Mot., ECF

No. 19-1 at 21. Plaintiffs respond that they have alleged

omissions in the District’s training program for its DMV

employees, specifically that DMV employees should be trained to:

          (a)   Screen and stop automatic suspensions for
                citizens who paid their tickets and late
                fines in full;

          (b)   Provide notice to individuals that their
                driver’s licenses would be suspended
                after full payment, if payments were not
                made within 60 days; and

          (c)   Notify citizens that their driver’s
                licenses  had  been suspended after
                payment.

Am. Compl., ECF No. 18 ¶ 63. Plaintiffs argue that since these

allegations must be taken as true for the purposes of the motion

to dismiss, they have stated a claim for failure to train, see

Pls.’ Opp’n, ECF No. 26 at 23; but they are mistaken.

     Plaintiffs allege that because of the failure to train DMV

employees on the items identified above, Mr. Zorgani’s license

was suspended without any notice, process, or opportunity for a

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hearing. See Am. Compl., ECF No. 18 ¶ 50. He alleges that under

the District’s policy, a driver’s license is suspended if a

ticket is unpaid 60 days after the issuance of the ticket even

if the ticket and fine are paid after the expiration of the 60

days and before the license is suspended. Id. ¶¶ 52-53. He

further alleges that between 2010 and 2017, a total of 126,000

licenses were automatically suspended pursuant to this policy.

Id. ¶ 57. However, the testimony before the D.C. City Council

that Mr. Zorgani cites in his Amended Complaint and attaches to

his opposition to Defendants’ motion does not support his

allegation. 4 That testimony states that the suspensions were due

to the “non-payment of ticket and court debt.” Ex. 1 to Pls.’

Opp’n, ECF No. 26-3, Testimony of Tzedek DC. The testimony does

not state that 126,000 licenses were suspended based on the same

facts alleged by Mr. Zorgani—specifically, after he paid his

ticket and fine. Nor does the DMV’s response to the Freedom of

Information Act (“FOIA”) request that Mr. Zorgani has attached

to his opposition brief support his allegation. The response

indicates that the request had been for the number of license

suspensions for failure to pay court debt, defined as including,

but not limited to “a debt resulting from a failure to pay a




4 The Court properly takes these documents into consideration.
See Abhe, 508 F.3d at 1059.

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ticket or other fee or fine related to car registration, car

insurance, parking violations, or moving violations” or a civil

judgment. Ex. 2 to Pls.’ Opp’n, ECF No. 26-4, Letter from David

Glasser, Gen. Couns. & Acting FOIA Officer, Dep’t of Motor

Vehicles, to Justin Moyer (Nov. 7, 2017). The FOIA request was

not for licenses suspended for the same reasons Mr. Zorgani’s

license was suspended.

     For these reasons, Mr. Zorgani has failed to allege a

pattern of similar violations. He has provided no factual

support for his contention that 126,000 licenses were suspended

even though the ticket and fine were paid. Rather, he has

alleged only that his license was suspended even though he paid

the ticket and fine. Accordingly, the Court GRANTS Defendants’

Motion to Dismiss as to the failure-to-train claim.

                3. Defendants Are Not Entitled to Summary Judgment
                   on Plaintiffs’ Policy-or-Custom Claim

     Defendants move for summary judgment on Plaintiffs’ policy-

or-custom claim, arguing that there is no genuine issue of

material fact as to whether there is a policy to suspend

driver’s licenses after a fine is fully paid, because such a

policy has never existed. Defs.’ Mot., ECF No. 19-1 at 22-23.

Plaintiffs respond that summary judgment is premature because no

discovery has taken place. Pls.’ Opp’n, ECF No. 26 at 10-11.

Plaintiffs assert that “[t]he critical fact in dispute is


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whether the suspension [of Mr. Zorgani’s license] occurred

pursuant to the District’s policy and custom of automatic

suspension of licenses for unpaid moving violations,” id. at 10;

arguing that “[t]he problem with the Policy was its

implementation. It was set up to suspend licenses after 60 days

from the infraction, thereby allowing a time period when the

individual could pay the ticket and fine and still be

subsequently suspended,” id. at 12. Plaintiffs argue that they

are entitled to discovery on, among other things, the details of

the computer system that implemented the policy. Id. at 15.

     “[S]ummary judgment is premature unless all parties have

‘had a full opportunity to conduct discovery.’” Convertino v.

U.S. Dep't of Just., 684 F.3d 93, 99 (D.C. Cir. 2012) (quoting

Anderson, 477 U.S. at 257); accord Celotex, 477 U.S. at 322

(summary judgment appropriate only “after adequate time for

discovery”); Americable Int'l, Inc. v. Dep't of Navy, 129 F.3d

1271, 1274 (D.C. Cir. 1997) (“[S]ummary judgment ordinarily ‘is

proper only after the plaintiff has been given adequate time for

discovery.’” (quoting First Chicago Int'l v. United Exch. Co.,

836 F.2d 1375, 1380 (D.C. Cir. 1988))). Here, no discovery has

taken place, and Plaintiffs have explained the discovery they

seek. Cf. Strang v. U.S. Arms Control & Disarmament Agency, 864

F.2d 859, 861 (D.C. Cir. 1989) (“[A] court may deny a motion for

summary judgment or order a continuance to permit discovery if
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the party opposing the motion adequately explains why, at that

timepoint, it cannot present by affidavit facts needed to defeat

the motion.”). Accordingly, the Court DENIES Defendants’ pre-

discovery Motion for Summary Judgment.

         D. Plaintiffs Have Adequately Stated a Claim for Loss of
            Consortium by Ms. Laasiri

     Defendants also move to dismiss Plaintiffs’ loss of

consortium claim, arguing that Ms. Laasiri has not shown “a

specific actual ‘loss of services or affection,’” has not

“establish[ed] that the ‘emotional pain and anguish’ impacted

her marriage,” and “has not stated any specific ‘customary

amenities of married life’ that she lost after her husband’s

half of a night in jail.” Defs.’ Mot., ECF No. 19-1 at 15. For

the reasons that follow, the Court partly grants and partly

denies Defendants’ Motion to Dismiss this loss of consortium

claim.

     In the District of Columbia, a plaintiff “may recover

damages for loss of consortium due to an injury negligently

inflicted upon” their spouse. Curry v. Giant Food Co. of the

Dist. of Columbia, 522 A.2d 1283, 1294 (D.C. 1987). Consortium

in this context “consists not only of material services, but

also affection, companionship, sexual relations, and the

customary amenities of married life.” Id. To recover damages,




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the plaintiff must show that the loss of consortium is related

to the injury caused by the tortfeasor. See id.

     As an initial matter, the Court grants Defendants’ Motion

to Dismiss this claim insofar as Plaintiffs maintain this claim

on behalf of Mr. Zorgani. The District of Columbia recognizes

that a plaintiff may recover on a claim related to an injury

sustained by their spouse. See Crowley v. N. Am. Telecomms.

Ass'n, 691 A.2d 1169, 1175 (D.C. 1997). It does not permit the

injured spouse to recover for loss of consortium. Thus, only Ms.

Laasiri may potentially maintain this claim against Defendants.

     Plaintiffs have alleged sufficient facts to state a claim

for loss of consortium. Plaintiffs allege that Ms. Laasiri “had

no knowledge of her husband’s whereabouts the night of November

8, 2014 and experienced severe emotional distress as a result.”

Am. Compl., ECF No. 18 ¶ 24. This “severe emotional distress,”

in addition to the “loss of companionship and society” with her

husband, id. ¶ 76; are adequate to state a claim for loss of

consortium, see Curry, 522 A.2d at 1294.

     Defendants’ argument that Plaintiffs have failed to plead

causation is unpersuasive. Defs.’ Reply, ECF No. 30 at 11.

Plaintiffs allege the direct causal chain: (1) Mr. Zorgani’s

license was wrongfully suspended; (2) he was subsequently

arrested; (3) Ms. Laasiri “had no knowledge of her husband’s

whereabouts the night of November 8, 2014”; and (4) she
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“experienced severe emotional distress as a result.” Am. Compl.,

ECF No. 18 ¶ 24. Plaintiffs further allege that Ms. Laasiri

“suffered loss of companionship and society with [Mr. Zorgani],

including the emotional pain and anguish related thereto.” Id. ¶

76. These facts, taken as true at this stage in the proceedings,

are sufficient to state a claim for loss of consortium. For

these reasons, the Court DISMISSES Mr. Zorgani’s claim for loss

of consortium and DENIES Defendants’ Motion to Dismiss as to Ms.

Laasiri’s loss of consortium claim.

          E.    It Is Premature to Dismiss Plaintiffs’ Class
                Action Claims

     Defendants move to dismiss Plaintiffs’ class action claims.

Defs.’ Mot., ECF No. 19-1 at 24-25. Defendants’ motion is

premature as Plaintiffs have not sought to certify a class.

Pursuant to the Court Minute Order of July 11, 2019, the parties

will address any class certification issues following the

issuance of this Memorandum Opinion.




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            F.    Plaintiffs’ Violation of Statute Claim

       In their Reply briefing, Defendants state that Plaintiffs’

generic “Violation of Statute” claim does not establish a cause

of action. Defs.’ Reply, ECF No. 30 at 14. Defendants appear to

argue that their policy-or-custom argument addressed the

violation of a statute claim. See id. The Court will require

supplemental briefing on this issue in a forthcoming Minute

Order.

  V.      Conclusion

       For the foregoing reasons, the Court GRANTS IN PART AND

DENIES IN PART Defendants’ Motion to Dismiss and DENIES

Defendants’ Motion for Summary Judgment. Pending the Court’s

determination on the supplementary briefing on the violation of

statue claim, the following claims may proceed: (1) negligence

claim against the District; (2) policy-or-custom Section 1983

claim against the District; and (3) loss of consortium claim by

Ms. Laasiri. An appropriate Order accompanies this Memorandum

Opinion.

       SO ORDERED.

Signed:     Emmet G. Sullivan
            United States District Judge
            May 11, 2022




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